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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 ROBERT CHARLES FAILLE JR.,                           Case No.
 Individually and On Behalf of All Others
 Similarly Situated,
                                                      CLASS ACTION COMPLAINT
                                    Plaintiff,

                        v.                            JURY TRIAL DEMANDED

 ADAPTHEALTH CORP. f/k/a DFB
 HEALTHCARE ACQUISITIONS CORP.,
 LUKE MCGEE, STEPHEN P. GRIGGS,
 GREGG HOLST, and JASON CLEMENS,

                                    Defendants.


       Plaintiff Robert Charles Faille Jr. (“Plaintiff”), individually and on behalf of all others

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding AdaptHealth Corp. f/k/a DFB Healthcare Acquisitions Corp.

(“DFB,” “AdaptHealth,” or the “Company”), analysts’ reports and advisories about the Company,

and information readily obtainable on the Internet. Plaintiff believes that substantial additional

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.




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                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired AdaptHealth securities

between November 11, 2019 and July 16, 2021, both dates inclusive (the “Class Period”), seeking

to recover damages caused by Defendants’ violations of the federal securities laws and to pursue

remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      AdaptHealth, together with its subsidiaries, provides home healthcare equipment,

medical supplies, and home and related services in the U.S.

       3.      Prior to its business combination with AdaptHealth, as described below, DFB was

a special purpose acquisition company (“SPAC”), also known as a blank check company,

incorporated for the purpose of entering into a merger, share exchange, asset acquisition, share

purchase, recapitalization, reorganization, or similar business combination with one or more

businesses or entities.

       4.      On July 8, 2019, DFB announced that it had entered into a definitive agreement for

a business combination with AdaptHealth Holdings, LLC (“Legacy AdaptHealth”), the third

largest distributor of home medical equipment (“HME”) in the U.S. (the “Merger”). Upon the

closing of the Merger, DFB renamed itself “AdaptHealth Corp.” and its Class A common stock

began trading on the Nasdaq Global Select market (“NASDAQ”) under the ticker symbol

“AHCO.”

       5.      On November 8, 2019, post-market, DFB announced that the Merger had closed,

and that “[t]he combined company, which has been renamed AdaptHealth Corp. (“AdaptHealth”),

expects that its Class A Common Stock and public warrants will continue to list on the Nasdaq




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Capital Market under the new trading symbols “AHCO” and “AHCOW”, respectively, starting on

or about Monday, November 11, 2019.”

       6.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) AdaptHealth

had misrepresented its organic growth trajectory by retroactively inflating past organic growth

numbers without disclosing the changes, in violation of SEC regulations; (ii) accordingly, the

Company had materially overstated its financial prospects; and (iii) as a result, the Company’s

public statements were materially false and misleading at all relevant times.

       7.      On July 19, 2021, before the market opened, Jehoshaphat Research

(“Jehoshaphat”) published a report alleging that AdaptHealth is a “roll-up” company, or a

company that is built primarily through the acquisition of smaller companies with common

services or products, that obscures its organic growth by “[r]etroactively changing past organic

growth numbers to be higher, with no disclosure about the change.” Specifically, the report stated

that “[w]hile management claims (and consensus estimates reflect) an organic growth trajectory

of 8-10%, AHCO is in fact experiencing double-digit organic decline. It is also, in our opinion,

taking steps to obscure that decline which are expressly forbidden by the SEC.” Indeed, the report

suggested that AdaptHealth’s manipulation of its organic growth trajectory was “a blatant violation

of non-GAAP disclosure rules, for which companies get into huge trouble.”

       8.      On this news, AdaptHealth’s stock price fell $1.51 per share, or 5.93%, to close at

$23.96 per share on July 19, 2021.




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       9.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       11.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       12.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). AdaptHealth is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

actions took place within this Judicial District.

       13.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

       14.     Plaintiff, as set forth in the attached Certification, acquired AdaptHealth securities

at artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

       15.     Defendant AdaptHealth is a Delaware corporation with principal executive offices

located at 220 West Germantown Pike, Suite 250, Plymouth Meeting, Pennsylvania 19462. The




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Company’s common stock trades in an efficient market on the NASDAQ under the ticker symbol

“AHCO.”

       16.     Defendant Luke McGee (“McGee”) served as the Company’s Chief Executive

Officer (“CEO”) following the merger until February 2021 and served as Co-CEO from February

2021 until June 2021.

       17.     Defendant Stephen P. Griggs (“Griggs”) served as Co-CEO from February 2021

until June 2021 and has served as the Company’s CEO since June 2021.

       18.     Defendant Gregg Holst (“Holst”) served as the Company’s Chief Financial Officer

(“CFO”) following the Merger until August 2020.

       19.     Defendant Jason Clemens (“Clemens”) has served as the Company’s CFO since

August 2020.

       20.     Defendants McGee, Griggs, Holst, and Clemens are sometimes referred to herein

as the “Individual Defendants.”

       21.     The Individual Defendants possessed the power and authority to control the

contents of AdaptHealth’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of AdaptHealth’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with AdaptHealth, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being made were

then materially false and misleading. The Individual Defendants are liable for the false statements

and omissions pleaded herein.




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        22.      AdaptHealth and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                           Background

        23.      AdaptHealth, together with its subsidiaries, provides home healthcare equipment,

medical supplies, and home and related services in the U.S.

        24.      DFB was an SPAC, also known as a blank check company, incorporated for the

purpose of entering into a merger, share exchange, asset acquisition, share purchase,

recapitalization, reorganization, or similar business combination with one or more businesses or

entities.

        25.      On July 8, 2019, DFB announced that it had entered into a definitive agreement for

a business combination with Legacy AdaptHealth, the third largest distributor of HME in the U.S.

Upon the closing of the Merger, DFB renamed itself “AdaptHealth Corp.” and its Class A common

stock began trading on the NASDAQ under the ticker symbol “AHCO.”

        26.      On November 8, 2019, post-market, DFB announced that the Merger had closed,

and that “[t]he combined company, which has been renamed AdaptHealth Corp. (“AdaptHealth”),

expects that its Class A Common Stock and public warrants will continue to list on the Nasdaq

Capital Market under the new trading symbols “AHCO” and “AHCOW”, respectively, starting on

or about Monday, November 11, 2019.”

            Materially False and Misleading Statements Issued During the Class Period

        27.      The Class Period begins on November 11, 2019, the first trading session after DFB

issued a press release, post-market, announcing that the Merger had closed. The press release

stated, in relevant part:




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        “On behalf of the team at DFB and Deerfield, I am thrilled to announce the closing
        of this transaction,” said Richard Barasch, who will serve as Chairman of the Board
        of AdaptHealth. “[Defendant McGee] and his team have built one of the industry’s
        leading HME providers through a combination of accretive capital deployment,
        high-touch customer engagement, and a scalable, purpose-built, technology-
        enabled operating model. We believe AdaptHealth will continue to occupy an
        increasingly distinct position in the home-based healthcare value chain as the most
        efficient provider in the space.”

        “We look forward to this next, exciting phase of our growth as a public company,”
        said Mr. McGee. “We expect to remain an active participant in the consolidation of
        our industry while providing the highest level of patient care and service, with an
        over-arching commitment to creating value for all stakeholders.”

        28.       On March 6, 2020, AdaptHealth filed an Annual Report on Form 10-K with the

SEC, reporting the Company’s financial and operating results for the year ended December 31,

2019 (the “2019 10-K”). With respect to the Company’s business strategy, the 2019 10-K stated,

in relevant part:

                AdaptHealth’s strategy is to grow its revenue while expanding margins
        through targeted strategies for organic growth as well as opportunistic acquisitions
        that take advantage of AdaptHealth’s scalable, integrated technology platform.

                 Drive Market Share Gains in the HME Market: AdaptHealth plans to
                  leverage its technological and clinical advantages as well as its relationships
                  with key constituents across the HME supply chain to deepen its presence
                  in the HME market. AdaptHealth has built a strong network of highly
                  diversified referral relationships that its sales force will continue to grow to
                  help expand market penetration in certain geographies. Primary referral
                  sources include acute care hospitals, sleep laboratories, pulmonologist
                  offices, skilled nursing facilities and hospice operators, with no one source
                  accounting for greater than 2% of its revenue as of December 31, 2019.
                  AdaptHealth believes that maintaining and broadening these relationships
                  will drive organic growth. AdaptHealth’s ability to provide many products
                  across its contracted payors is particularly valuable, especially to providers
                  and facilities that discharge patients with a variety of product needs and
                  insurance coverages. While some of its HME competitors focus on certain
                  specific product lines, AdaptHealth is able to offer a wide array of products
                  to its customers. AdaptHealth believes that its strong referral relationships
                  and its broad product portfolio will help drive market share growth.




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        29.      Further, with respect to the Company’s sales and marketing activities, the 2019

10-K stated, in relevant part:

                Sales activities are generally carried out by AdaptHealth’s full-time sales
        representatives with assistance from on-site liaisons in certain markets who interact
        directly with hospital discharge coordinators and patients. AdaptHealth’s sales
        team works closely with AdaptHealth’s trained respiratory therapists in carrying
        out their daily sales activities. AdaptHealth primarily acquires new patients through
        referrals. Sources of referrals include acute care hospitals, sleep laboratories,
        pulmonologist offices, skilled nursing facilities and hospice operators, among
        others. AdaptHealth’s sales representatives maintain continual contact with
        medical professionals across these facilities. AdaptHealth believes that its
        relationships with its referral sources are strong and that these entities will continue
        to be a source of organic growth through new patients. While AdaptHealth views
        its referral sources as fundamental to its business, no single referral source
        accounted for more than 2% of its revenues as of December 31, 2019.

        30.      Next, with respect to governmental regulation, the 2019 10-K stated, in relevant

part:

                AdaptHealth maintains a Compliance Program that meets the guidelines set
        forth by the Office of Inspector General of CMS, and provides ongoing compliance
        training designed to keep AdaptHealth’s officers, directors and employees well-
        educated and up-to-date regarding developments on relevant topics and to
        emphasize AdaptHealth’s policy of strict compliance. Federal and state laws
        require that AdaptHealth obtain facility and other regulatory licenses and that
        AdaptHealth enroll as a supplier with federal and state health programs.

        31.      In addition, with respect to net revenue for the year, the 2019 10-K stated, in

relevant part:

               Net Revenue. Net revenue for the year ended December 31, 2019 was
        $529.6 million compared to $345.3 million for the year ended December 31, 2018,
        an increase of $184.4 million or 53.4%. The increase in net revenue was driven
        primarily by acquisitions, which increased revenue by approximately $156.3
        million. The remaining increase in net revenue was attributable to organic
        growth resulting from demographic growth in core markets and CPAP resupply
        sales and marketing initiatives.

(Emphasis added.)




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       32.     Appended to the 2019 10-K as an exhibit was a signed certification pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants McGee and Holst, attesting that “[t]he

information contained in the [2019 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

       33.     On May 5, 2020, AdaptHealth issued a press release announcing the Company’s

Q1 2020 financial results. The press release stated, in relevant part:

       Luke McGee, Chief Executive Officer of AdaptHealth, commented, “Despite
       significant and sudden challenges brought on by the COVID-19 pandemic, our
       strong first quarter performance reflects the extraordinary hard work, resilience and
       dedication of our outstanding AdaptHealth team. Due in large measure to their
       efforts, we are continuing to successfully deploy a scalable growth model focused
       on organic sales, acquisitions, accretive capital deployment, margin expansion, and
       cash generation. Our HME business performed well, and ahead of our internal
       budgets despite the historical softness of this three-month period during which
       patients are often managing through reset deductibles and insurance changes.

       “We closed and fully integrated two significant and accretive HME business
       acquisitions during the quarter that are also expected to add an aggregate $91
       million in net revenue in 2020. Advanced expands the Company’s currently
       underpenetrated presence in the Southeast and Healthline strengthens our presence
       in Texas. I could not be more excited about these two scaled acquisitions.

       “Our home medical supplies business, Patient Care Solutions (PCS), generated net
       revenue of $33.9 million for the quarter and negative EBITDA of $4.5 million. As
       previously disclosed, PCS is a turn-around situation and as part of our investment
       we expect $15 million in one-time restructuring and operational losses in 2020. We
       are pleased with our progress in addressing and curing various issues at PCS, and
       in the first quarter we exceeded our internal revenue and operational projections.
       We continue to believe PCS will be profitable in the fourth quarter of 2020. We are
       particularly excited about growth in the continuous glucose monitoring business at
       PCS and expect this will evolve into a growing and increasingly significant new
       product offering for AdaptHealth.”

       34.     On May 8, 2020, AdaptHealth filed a Quarterly Report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2020 (the

“Q1 2020 10-Q”). The Q1 2020 10-Q stated, in relevant part:




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               Net Revenue. Net revenue for the three months ended March 31, 2020 was
        $191.4 million compared to $119.5 million for the three months ended March 31,
        2019, an increase of $71.9 million or 60.2%. The increase in net revenue was driven
        primarily by acquisitions, which increased revenue by $57.9 million (including
        $33.9 million generated by PCS). The remaining increase in net revenue was
        primarily attributable to organic growth resulting from stronger CPAP resupply
        sales and demographic growth in core markets. Net revenue, excluding PCS, was
        $157.5 million for the three months ended March 31, 2020.

(Emphasis added.)

        35.     Appended to the Q1 2020 10-Q as an exhibit was a substantively similar SOX

certification as referenced, supra, in ¶ 32, signed by Defendants McGee and Holst.

        36.     On August 4, 2020, AdaptHealth hosted an earnings call with investors and analysts

to discuss the Company’s Q2 2020 results (the “Q2 2020 Earnings Call”). During the Q2 2020

Earnings Call, in response a question regarding Q2 2020 organic growth, Defendant Holst stated,

in relevant part:

        for the quarter organic growth was extraordinary, because of the B2B revenue. So
        it was in excess of 25%. If you exclude it B2B with the weakness and some of the
        -- related to COVID, the organic growth was a couple of percent or at 2%. So --
        and then for -- going forward, we’ve essentially projected the kind of the same, a
        very steady amount of new businesses and kind of a lower level because of COVID.

In response to the same question, Defendant McGee stated, in relevant part:

        to add a little bit more context around that. I mean, so even for the first half, you’re
        going to see organic growth year-over-year, well within the guidance, that 6% to
        8%, we’ve included obviously Q2, given COVID to have any even positive organic
        growth. We’re actually very proud of that B2B.

        And then, for the rest of the year, again, if you look at where we are in July, and
        obviously, it’s just one month does not make a quarter. But we’re seeing very nice
        sort of growth in the respiratory categories, in most of the bent metal. And the
        weakness really is isolated to just PAP new starts and the orthotic business. So I
        think we’re confident, that we can be back on that 6% to 8%, in Q3.




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       37.    On August 7, 2020, AdaptHealth filed a Quarterly Report on Form 10-Q with the

SEC, reporting the Company’s financial and operating results for the quarter ended June 30, 2020

(the “Q2 2020 10-Q”). The Q2 2020 10-Q stated, in relevant part:

                Net Revenue. Net revenue for the three months ended June 30, 2020 was
       $232.1 million compared to $124.1 million for the three months ended June 30,
       2019, an increase of $108.0 million or 87.0%. The increase in net revenue was
       driven primarily by (i) acquisitions, which increased net revenue by $77.0 million
       (including $33.0 million generated by PCS), (ii) organic growth resulting from
       stronger CPAP resupply sales and demographic growth in core markets, and (iii)
       net revenue of approximately $28.4 million from referral partners and healthcare
       facilities in support of their urgent needs for ventilation and oxygen equipment for
       COVID-19 patients.

(Emphasis added.)

       38.    Appended to the Q2 2020 10-Q as an exhibit was a substantively similar SOX

certification as referenced, supra, in ¶ 32, signed by Defendants McGee and Clemens.

       39.    On November 4, 2020, AdaptHealth hosted an earnings call with investors and

analysts to discuss the Company’s Q3 2020 results (the “Q3 2020 Earnings Call”). In response to

a question regarding the Company’s Q3 2020 organic growth, Defendant Clemens stated:

       [t]he organic growth for the third quarter was a little over a point. So, again, in the
       face of COVID, we’re actually pretty pleased with those results. As you heard in
       our prepared remarks, starts, particularly around sleep, are coming back. As you
       know, there’s a bit of a compounding effect on that. So as Q2 hit in the midst of
       COVID, and starts were down materially, there is a compounding effect of that,
       that we’re in the middle of that we’re starting to see pull through going in a positive
       direction.

Later during the Q3 2020 Earnings Call, in response to a question regarding how the Q3 2020

organic growth rate compared to the Company’s expectations, Defendant McGee stated:

       I think we’re pretty happy with – in the quarter at 1% is still positive year-to-date
       in light of COVID. We knew Q3 and frankly the early part of Q4 the hardest hit
       from the compounding of top rental revenues. And so to be able to deliver that, yes,
       I’m incredibly proud of the team. I think we’re setting up for a higher number in
       Q4 and as we go into 2021, back to our previously forecast range.




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Finally, in response to a question regarding how to assess organic growth, Defendant McGee

stated, in relevant part:

        Obviously, we’ve been so acquisitive with even 2019 as the hard baseline.
        Obviously, we do expect to see growth and core growth in 2020, despite COVID.
        Obviously, if you look year-to-date, I think we’re sort of in the low to mid-single
        digits, certainly higher than 1% and that excludes B2B. And so, we can follow-up
        offline about how to model it, but I don’t think that starting in 2019 is going to be
        the easiest exercise, just given how acquisitive we’ve been. On the second piece,
        diabetes is a fast growing market. And so we would expect our diabetes business,
        and there’s some blend to get to 7 to 10 of above market diabetes growth, diabetes
        should be a mid-teens grower for us in 2021. I think that’s probably somewhat
        conservative. And if you look at percentage of revenue, you’re going to get to some
        mid-20s, as we continue to grow that and that is just with what we own today.
        Again, we like the acquisition landscape in diabetes. We think that there’s a similar
        playbook to execute there that we’ve done in core HME. And so with those it could
        even skew higher.

        40.     On November 6, 2020, AdaptHealth filed a Quarterly Report on Form 10-Q with

the SEC, reporting the Company’s financial and operating results for the quarter ended September

30, 2020 (the “Q3 2020 10-Q”). The Q3 2020 10-Q stated, in relevant part:

               Net Revenue. Net revenue for the three months ended September 30, 2020
        was $284.4 million compared to $136.5 million for the three months ended
        September 30, 2019, an increase of $147.9 million or 108.4%. The increase in net
        revenue was driven primarily by (i) acquisitions, which increased net revenue by
        $146.2 million, (ii) organic growth resulting from stronger CPAP resupply sales
        and demographic growth in core markets, and (iii) net revenue of approximately
        $4.3 million from referral partners and healthcare facilities in support of their urgent
        needs for ventilation and oxygen equipment for COVID-19 patients.

(Emphasis added.)

        41.     Appended to the Q3 2020 10-Q as an exhibit was a substantively similar SOX

certification as referenced, supra, in ¶ 32, signed by Defendants McGee and Clemens.

        42.     On March 4, 2021, AdaptHealth hosted an earnings call with investors and analysts

to discuss the Company’s Q4 and full year 2020 results (the “Q4 2020 Earnings Call”). During

the scripted portion of the Q4 2020 Earnings Call, Defendant Clemens stated, in relevant part:




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        Synthesize all of the trends above and a detailed on the slide in our Q4 2020
        earnings supplement, our organic growth for full year 2020 was 8.6%, when
        including the COVID B2B business and 5.6% when excluding B2B.

        For the fourth quarter, organic growth was 5.7% when compared to the fourth
        quarter of 2019, including the COVID B2B business, and 4.9% when excluding
        B2B. With our PAP census rebuilding after the depressed new starts in mid-year,
        increase in oxygen business in Q4 and continued market expansion in CGM, we
        remain confident in our organic growth prospects between 8% and 10% for 2021.

        43.     Later during the scripted portion of the Q4 2020 Earnings Call, Defendant McGee

stated, in relevant part, “we will continue to find ways to drive organic growth. We will learn from

AeroCare best practices and also seek to capitalize on growth opportunities as life returns to a

more normal cadence throughout the course of 2021.” Finally in response to a question regarding

the Company’s revenue guidance, Defendant Clemens stated, in relevant part, “[s]o on the revenue

side [. . .] we increased the organic growth in the revenue guide when we came out with the Aero

announcement in late 2020. So no real change there, just kind of confirming evidence that we feel

rock-solid about our organic growth.”

        44.     On March 16, 2021, AdaptHealth filed an Annual Report on Form 10-K with the

SEC, reporting the Company’s financial and operating results for the year ended December 31,

2020 (the “2020 10-K”). The 2020 10-K contained substantively similar descriptions of the

Company as discussed, supra, in ¶¶ 28-30. In addition, with respect to revenue, the 2020 10-K

stated, in relevant part:

                 Net Revenue. Net revenue for the year ended December 31, 2020 was $1.06
        billion compared to $529.6 million for the year ended December 31, 2019, an
        increase of $526.7 million or 99.5%. The increase in net revenue was driven
        primarily by (i) acquisitions completed during 2020, which contributed net revenue
        of $450.2 million during the year, (ii) organic growth resulting from stronger
        CPAP resupply sales and demographic growth in core markets, and (iii) net
        revenue of $36.5 million from referral partners and healthcare facilities in support
        of their urgent needs for ventilation and oxygen equipment for COVID-19 patients.

(Emphasis added.)



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        45.    Appended to the 2020 10-K as an exhibit was a substantively similar SOX

certification as referenced, supra, in ¶ 32, signed by Defendants McGee, Griggs, and Clemens.

        46.    On May 6, 2021, AdaptHealth hosted an earnings call with investors and analysts

to discuss the Company’s Q1 2021 results (the “Q1 2021 Earnings Call”). During the scripted

portion of the Q1 2021 Earnings Call, Defendant Griggs stated, in relevant part:

        Despite the ongoing effects of the pandemic on certain product lines, we’re very
        pleased with our organic growth rate of 11.5%. With the recent return of referral
        volumes in our sleep and hospital discharge business to pre-pandemic levels and
        current organic growth in diabetes and resupply, we feel confident that the balance
        of 2021 will meet our organic growth expectations.

Later in the scripted portion of the Q1 2021 Earnings Call, Defendant Clemens stated, in relevant

part:

        For the first quarter ending March 2021, AdaptHealth reported net revenue of
        $482.1 million, an increase of 152% from the first quarter of 2020. The substantial
        increase is a result of our company-wide focus, driving organic growth and the
        efficient integration of our 2020 and 2021 acquisitions, including the acquisition of
        AeroCare, which was completed on February 1, 2021

                                              ***

        As detailed in our Q1 2021 earnings supplement, our organic growth for the quarter
        was very strong at 11.5%, up significantly against Q4 2020 organic growth and led
        by new starts in our diabetes product line.

        47.    On May 10, 2021, AdaptHealth filed a Quarterly Report on Form 10-Q with the

SEC, reporting the Company’s financial and operating results for the quarter ended March 31,

2021 (the “Q1 2021 10-Q”). With respect to revenue, the Q1 2021 10-Q stated, in relevant part:

                Net Revenue. Net revenue for the three months ended March 31, 2021 was
        $482.1 million compared to $191.4 million for the three months ended March 31,
        2020, an increase of $290.7 million or 151.8%. The increase in net revenue was
        driven primarily by (i) acquisitions completed during the three months ended March
        31, 2021, which contributed net revenue of $142.6 million during the period, (ii)
        net revenue contributed by acquisitions completed after March 2020 and prior to
        the beginning of the current reporting period, and (iii) organic growth resulting
        from stronger CPAP resupply sales and demographic growth in core markets.



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(Emphasis added.)

       48.     Appended to the Q1 2021 10-Q as an exhibit was a substantively similar SOX

certification as referenced, supra, in ¶ 32, signed by Defendants Griggs and Clemens.

       49.     The statements referenced in ¶¶ 27-48 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.             Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) AdaptHealth

had misrepresented its organic growth trajectory by retroactively inflating past organic growth

numbers without disclosing the changes, in violation of SEC regulations; (ii) accordingly, the

Company had materially overstated its financial prospects; and (iii) as a result, the Company’s

public statements were materially false and misleading at all relevant times.

                                      The Truth Emerges

       50.     On July 19, 2021, before the market opened, Jehoshaphat published a report

alleging that AdaptHealth is a “roll-up” company, or a company that is built primarily through the

acquisition of smaller companies with common services or products, that obscures its organic

growth by “[r]etroactively changing past organic growth numbers to be higher, with no disclosure

about the change.” Specifically, the report stated that “[w]hile management claims (and consensus

estimates reflect) an organic growth trajectory of 8-10%, AHCO is in fact experiencing double-

digit organic decline. It is also, in our opinion, taking steps to obscure that decline which are

expressly forbidden by the SEC.” Indeed, the report suggested that AdaptHealth’s manipulation

of its organic growth trajectory was “a blatant violation of non-GAAP disclosure rules, for which

companies get into huge trouble.” The report explained that:




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                 AHCO claims on its earnings calls that it had 6% organic growth in FY20
                  and that this accelerated to 12% in Q121. The Street accepts this
                  characterization fully, and projects 8%+ organic growth going forward. But
                  nowhere does management provide investors with numeric inputs for these
                  numbers.

                 In Q420 alone, organic revenues declined by more than -$20m year-over-
                  year.

                 AHCO recently took highly unusual steps to make it harder for investors to
                  see organic growth. Some of these include:

                     o Failing to disclose contributions from all acquisitions on a quarterly
                       basis (even meaningful ones)
                     o Offering its own organic growth “estimate” with no quantitative
                       inputs available and confusing wording
                     o Changing organic growth calculations without disclosure
                     o Retroactively changing the organic number without disclosing such
                       change
                     o Removing certain inorganic contribution disclosures from one SEC
                       filing to the next, etc.

        51.       Jehoshaphat explained that AdaptHealth’s practices were in violation of SEC

regulations, stating, in relevant part:

                  We believe that some of these actions are prohibited by the SEC’s rules
                  on non-GAAP disclosures.
                 We don’t think it’s a coincidence that management decided to take its
                  organic growth disclosure from “translucent” to “totally opaque” in 2H20:
                  this was just as true organic growth was going from negative to very
                  negative. This was also when they decided to do their biggest deal ever, and
                  to set up the company for an exit of the CEO.

(Emphasis in original.) The report further explained:

        Apparently in Q420, AHCO’s management discovered that time travel can be
        lucrative (perhaps they watched Timecop?), so they went back and changed history:

                 Q1 organic growth went from 8% to 9.9%
                 Q2 went from 2% to 5.5%
                 Q3 went from 1% to 3.2%

        Q2 and Q3 transcripts both mentioned the number being ex-B2B. Q1 did not
        mention this distinction, as B2B, or emergency sales of respiratory equipment
        during the hospital crisis, was not a major factor yet.


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       (According to one former employee, “Luke knew what he was doing. He was going
       to push this to the limits of the envelope.” Changing historical growth numbers fits
       the characterization painted by formers.)

       Doubling or tripling your historical organic growth rate by waving a wand is nice
       work if you can get it. We were unable to find any disclosure to investors of the
       fact that these organic growth measurement numbers had been changed.
       Management still has never quantified the inputs for either the old or the new
       numbers. (The only change has been the addition of this “Consistent Strength in
       Year-on-Year Revenue Growth,” which by the way is an insanely ironic title.)

       To our knowledge this is a blatant violation of non-GAAP disclosure rules, for
       which companies get into huge trouble. Longtime followers of US stock frauds will
       remember MDC Partners (ticker MDCA), a company whose CEO was eventually
       banned for five years from serving as an officer or director of a public company,
       and which cost its shareholders over 90% of their investment in a relatively short
       period of time as the rollup’s fraud unraveled. In 2017 the SEC brought charges
       against MDCA, in part for violating rules that sound pretty relevant here[.]

       52.       In addition, the report highlighted that Jehoshaphat’s findings of misrepresentation

were confirmed by former employees, stating:

                Our key findings above were consistent with what former employees told
                 us in interviews. Former executives described a chaotic, understaffed
                 business, failing to do substantial M&A diligence in a race to accumulate
                 assets.

                One interviewee said that the company’s M&A department was “like a barn
                 fire. There were two acquisitions happening a month. They didn’t have the
                 ability to disaggregate [organic growth], trust me. They had no f****ng
                 clue. There was no concept of what organic growth actually was.” He
                 described the overall company as a “house of cards.”

                One common refrain was disbelief at the idea that this business grows
                 meaningfully faster than GDP.

       53.       On this news, AdaptHealth’s stock price fell $1.51 per share, or 5.93%, to close at

$23.96 per share on July 19, 2021.




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        54.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        55.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired AdaptHealth securities during the Class Period (the “Class”); and were damaged upon

the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

herein, the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        56.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, AdaptHealth securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by AdaptHealth or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        57.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




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       58.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       59.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

                  whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of AdaptHealth;

                  whether the Individual Defendants caused AdaptHealth to issue false and
                   misleading financial statements during the Class Period;

                  whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

                  whether the prices of AdaptHealth securities during the Class Period were
                   artificially inflated because of the Defendants’ conduct complained of herein; and

                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       60.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       61.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:




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                   Defendants made public misrepresentations or failed to disclose material facts
                    during the Class Period;

                   the omissions and misrepresentations were material;

                   AdaptHealth securities are traded in an efficient market;

                   the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

                   the Company traded on the NASDAQ and was covered by multiple analysts;

                   the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

                   Plaintiff and members of the Class purchased, acquired and/or sold AdaptHealth
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        62.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        63.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        64.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        65.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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          66.   During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of AdaptHealth securities;

and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire

AdaptHealth securities and options at artificially inflated prices. In furtherance of this unlawful

scheme, plan and course of conduct, Defendants, and each of them, took the actions set forth

herein.

          67.   Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for AdaptHealth securities. Such reports, filings, releases and statements

were materially false and misleading in that they failed to disclose material adverse information

and misrepresented the truth about AdaptHealth’s finances and business prospects.

          68.    By virtue of their positions at AdaptHealth, Defendants had actual knowledge of

the materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants




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acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

       69.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of AdaptHealth, the Individual Defendants had knowledge of the details of

AdaptHealth’s internal affairs.

       70.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

AdaptHealth. As officers and/or directors of a publicly-held company, the Individual Defendants

had a duty to disseminate timely, accurate, and truthful information with respect to AdaptHealth’s

businesses, operations, future financial condition and future prospects.        As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of AdaptHealth securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning AdaptHealth’s business and financial condition which

were concealed by Defendants, Plaintiff and the other members of the Class purchased or

otherwise acquired AdaptHealth securities at artificially inflated prices and relied upon the price

of the securities, the integrity of the market for the securities and/or upon statements disseminated

by Defendants, and were damaged thereby.




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          71.   During the Class Period, AdaptHealth securities were traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of AdaptHealth securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiff and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the

Class, the true value of AdaptHealth securities was substantially lower than the prices paid by

Plaintiff and the other members of the Class. The market price of AdaptHealth securities declined

sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

members.

          72.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          73.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)




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       74.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       75.     During the Class Period, the Individual Defendants participated in the operation

and management of AdaptHealth, and conducted and participated, directly and indirectly, in the

conduct of AdaptHealth’s business affairs. Because of their senior positions, they knew the

adverse non-public information about AdaptHealth’s misstatement of income and expenses and

false financial statements.

       76.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to

AdaptHealth’s financial condition and results of operations, and to correct promptly any public

statements issued by AdaptHealth which had become materially false or misleading.

       77.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which AdaptHealth disseminated in the marketplace during the Class Period

concerning AdaptHealth’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause AdaptHealth to engage in the wrongful

acts complained of herein. The Individual Defendants, therefore, were “controlling persons” of

AdaptHealth within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of

AdaptHealth securities.

       78.     Each of the Individual Defendants, therefore, acted as a controlling person of

AdaptHealth.     By reason of their senior management positions and/or being directors of

AdaptHealth, each of the Individual Defendants had the power to direct the actions of, and




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exercised the same to cause, AdaptHealth to engage in the unlawful acts and conduct complained

of herein. Each of the Individual Defendants exercised control over the general operations of

AdaptHealth and possessed the power to control the specific activities which comprise the primary

violations about which Plaintiff and the other members of the Class complain.

       79.      By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by AdaptHealth.


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.       Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.       Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.       Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.       Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: July 29, 2021                                    Respectfully submitted,


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